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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


CMC TELECOM, INC and
GRID 4 COMMUNICATIONS, INC.,
          Plaintiffs,
                                                   No. 1:07-cv-319
-v-
                                                   HONORABLE PAUL L. MALONEY
MICHIGAN BELL TELEPHONE CO.,
et al.,
          Defendants.


                                            ORDER

        Having conducted a de novo review of the issues raised in Plaintiffs’ complaint, for the

reasons provided in the accompanying opinion, this Court finds the Michigan Public Service

Commission’s Order does not violate federal law.         Accordingly, Plaintiffs’ complaint is

DISMISSED. IT IS SO ORDERED.



Date:   August 28, 2009                                       /s/ Paul L. Maloney
                                                           Paul L. Maloney
                                                           Chief, United States District Judge
